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                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF PUERTO RICO


   HECTOR HOYOS ALIFF;                         CIVIL NO.   04-1859 (GAG)
   BIOMETRICS IMAGINEERING, INC.;
   TRANSACTIONAL TECHNOLOGIES
   INTERNATIONAL, INC.                         PLAINTIFFS REQUESTS
                                               TRIAL BY JURY
                 PLAINTIFFS

                      V.

   FOMENTO DE CONSTRUCCIONES Y
   CONTRATAS, S.A.; VIVENDI S.A.; ANGEL
   ARIAS; CARLOS AGUASCA CASTELLS;
   JAVIER   GIL   CÁCERES;     STEPHAN
   ORSSICH,     MARSCH-SALDANA        &
   ASSOCIATES,     INC.;     UNIVERSAL
   INSURANCE        CO;       AMERICAN
   INTERNATIONAL     INSURANCE      CO.;
   LCDO. HUMBERTO GUZMAN; LCDO.
   JUAN CARLOS FONT.; MARTINEZ,
   ODELL, CALABRIA & SIERRA; XYZ
   INSURANCE CO’S.

                DEFENDANTS



                           SECOND AMENDED COMPLAINT

   TO THE HONORABLE COURT:

         COMES NOW, Plaintiffs through its undersigned attorneys, and respectfully

   states, alleges and prays:

                                I. NATURE OF THE ACTION

          1.   This is an action brought by Héctor Hoyos Aliff (“HOYOS”) in response

   to Defendants’ intentional breach of contract and conduct to harm HOYOS business,

   and his personal and professional reputation. The Defendants, in order to harm


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   HOYOS and his business perpetrated a series of intentional and/or ultra vires

   breached and tortuous acts, directly or indirectly through the officers, directors

   and/or stockholders of Transactional Technologies International, Inc. (“TTI”), a

   Puerto Rican corporation controlled by the Defendants. By unlawfully, and illegally

   deciding to dissolve TTI, and sell all of its assets, Defendants illegally forced HOYOS

   into a critical and desperate economic situation, with the intent to force HOYOS to

   relinquish all proprietary rights in TTI, and otherwise cause damage to HOYOS.

            2.   This is also an action for damages, injunctive and equitable relief

   brought pursuant to violations to the Racketeer Influenced and Corrupt

   Organizations Act (“RICO”), 18 USC §1961 et seq.

                             II. JURISDICTION AND VENUE

            3.   This is an action for money damages.

            4.   The Court has subject matter jurisdiction under 28 USC §§ 1331 and

   1332 by reason of complete diversity of citizenship.

            5.   The Court has subject matter jurisdiction over this action by virtue of

   18 USC §1965(a) (RICO.)

            6.   Venue lies with this District Court pursuant to the provisions of 18 USC

   §1965.

                                       III. PARTIES

            7.   Plaintiff, Mr. Héctor Hoyos Aliff (“HOYOS”) is an American citizen

   domiciled in the State of New York. HOYOS is a Puerto Rican entrepreneur who has




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   dedicated himself to the research and development of services and products in the

   field of science and technology.

          8.    Biometrics Imagineering, Inc. (“BI”), is a corporation organized under

   the Laws of the Commonwealth of Puerto Rico, and with the principal place of

   business in the Commonwealth of Puerto Rico.

          9.    Transactional Technologies International, Inc. (“TTI”), is a corporation

   organized under the Laws of the Commonwealth of Puerto Rico, and with the

   principal place of business in the Commonwealth of Puerto Rico.

          10.   Plaintiff HOYOS also files this action on behalf of TTI, in which

   corporation he was a minority shareholder, as a derivative action, to recover

   compensation for the economic injury caused by the defendants to TTI, due to their

   failure to comply with the fiduciary duties they owed to the corporation

   notwithstanding plaintiff’s efforts to have them comply as alleged herein below.

          11.   Co-defendant FOMENTO DE CONSTRUCCIONES Y CONTRATAS, S.A.

   (“FCC”) is a Spanish corporation domiciled in Madrid, Spain that has a controlling

   interest with VIVENDI in PROACTIVA.

          12.   PROACTIVA is a Spanish partnership or corporation domiciled in

   Madrid, Spain.

          13.   Individual Co-defendants AGUASCA, ARIAS, GIL and ORSSICH are

   Spanish nationals who are directors, officers, representatives, agents or employees

   of VIVENDI/FCC and who also served as directors or officers of TTI and/ or

   Proactiva.



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          14.   UNIVERSAL INSURANCE CO. (“UNIVERSAL”) is an insurance company

   domiciled in the Commonwealth of Puerto Rico.

          15.   AMERICAN INTERNATIONAL INSURANCE CO. (“AMERICAN”) is an

   insurance company domiciled in Wilmington, Delaware.

          16.   MARTINEZ, ODELL, CALABRIA & SIERRA (“MOCS”) is Professional

   Corporation domiciled in the Commonwealth of Puerto Rico.

          17.   HUMBERTO GUZMAN, ESQ. (“GUZMAN”) is an American citizen

   domiciled in the Commonwealth of Puerto Rico. GUZMAN is a Puerto Rican lawyer

   who has represented TTI in the present case and during the arbitration proceedings

   held in this case.

          18.   JUAN CARLOS FONT, ESQ. (“FONT”) is an American citizen domiciled in

   the Commonwealth of Puerto Rico. FONT is a Puerto Rican lawyer who has

   represented TTI in the present case and during the arbitration proceedings held in

   this case.

          19.   At all times relevant herein the Defendants conducted, either by

   themselves, or through their agents, business transactions within Puerto Rico, and

   they also participated, either by themselves or through their agents, within Puerto

   Rico in the commission of the injury object of this complaint.

          20.   At all times relevant herein the Defendants, jointly and severally, and

   acting in concert, wrongfully and with an improper purpose breached and interfered

   with the contractual relations alleged herein below.




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                                  IV. FACTUAL CLAIMS

           21. On or about November 26, 1998, HOYOS began a series of

    negotiations and communications with a European based multinational known as

    VIVENDI in an effort to raise capital and create a joint venture for several business

    enterprises developed by HOYOS.

           22. Among the business ventures was a project called RESERVA

    (“RESERVA” or the “PROJECT”) composed of two (2) parts:

    (1) hardware/software manufacturing to be carried out by “BI”, that entailed

    operating a research, development and technology center to develop, make,

    manufacture, produce, prepare, and process computer hardware/software and

    communications systems and protocols; and

    (2) commercial operations to be carried out by TTI that entailed the marketing,

    education, contracting, signing-up of clients and customers (i.e. utilities,

    government agencies, cable TV, telephone and cellular telephone companies,

    banks and financial institutions, and other private and commercial institutions), and

    installing of equipment. The commercial operation involved the development,

    installation, maintenance, marketing and education related to a computer and

    communications network system allowing the general public to pay their utilities,

    telephone, cellular, Cable TV, bank, mortgage, auto and other expenses, and make

    deposits and other transfers at conveniently located units throughout Puerto Rico.

    All of these payments could be made all at once and at any one location (at units

    similar to ATH/ATM units), without waiting in long lines, open 24 hours, 7 days a



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    week, receive verified receipts for each transaction; bank, government and private

    enterprises (the potential customers and clients of TTI) could reduce overhead and

    personnel expenses, while paying a low reasonable fee for each transaction to TTI.

           23. The majority of these negotiations communications were initially

   carried out with Mr. Regis Mesnier (“MESNIER”), a high-ranking officer of VIVENDI

   in Paris, France. VIVENDI is a large multinational group of companies with business

   interests around the world.

           24. Although VIVENDI was also interested in forming some kind of

   business venture with HOYOS, particularly in connection with RESERVA, VIVENDI

   began a merging process with FCC of Spain, and the RESERVA project began to

   slowly shift from being a VIVENDI project to becoming a VIVENDI/FCC PROJECT.

           25. HOYOS was at the time the controlling stockholder of BI. BI

   engineered, developed, produced and owned the proprietary software, design and

   concept of RESERVA and had authored guidelines related to the marketing,

   introduction and installation of RESERVA equipment throughout Puerto Rico.

           26. Mr. Fernando Pina a VIVENDI/FCC executive, at that time running the

   operations of PRASA (The PR Sewer and Aqueducts Authority) in PR under contract

   with Proactiva MedioAmbiente, was ordered by MESNIER to personally meet with

   HOYOS, which meeting occurred on April 29, 1999, and there informed him that

   VIVENDI/FCC’s Executive Committee had been evaluating the possibility of entering

   into a deal whereby VIVENDI/FCC would purchase 10% of BI for US 4 million




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   dollars and would provide a US 20 million dollars guarantee in consideration for

   acquiring 50% of TTI stock.

          27. VIVENDI/FCC viewed with optimism an investment in BI in as much as

   HOYOS had been able to attract Popular, Inc. (“BPPR”) to make a substantial

   investment into the RESERVA project.

          28. Suddenly, however, on June 11, 1999, the VIVENDI/FCC group

   informed HOYOS that they were “dropping” the RESERVA project because it

   allegedly did not meet with the VIVENDI/FCC Group’s “minimum economic financial

   requirements”.

          29. HOYOS notified Mesnier that he was considering to pursue legal

   recourse since the parties had already entered into several preliminary agreements;

   at VIVENDI/FCC’s urging, HOYOS had invested considerable time, effort, money

   and resources in furthering the PROJECT; and had a binding verbal commitment

   and contractual agreement from VIVIENDI/FCC, all of which were detailed in the

   HOYOS letter to MESNIER on June 16, 1999, RE: “Agreements and Understandings

   by and between VIVENDI/FCC and BI/TTI”.

          30. Shortly thereafter, VIVENDI/FCC reconsidered their position and

   decided to participate in the RESERVA project, and the parties reengaged their

   negotiations.

          31. These negotiations bore fruit and on November 3, 1999, HOYOS, in his

   personal capacity and as controlling proprietor of BI and TTI, entered into two

   agreements      in   Madrid,   Spain   (“ACUERDO   MARCO”   and   “STOCKHOLDERS’



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   AGREEMENT”) by which VIVENDI/FCC through PROACTIVA became owner of 70%

   of the capital stock of TTI, assuming full control and management of the company,

   while HOYOS retained 30% thereof, and became the non-executive President of the

   Company without any decision making capability and sub-serviant to the authority

   of the General Manager appointed by Proactiva, Mr. Stefan Orssich. Although

   VIVENDI/FCC     entered   into   the   ACUERDO     MARCO      and   STOCKHOLDERS’

   AGREEMENT through PROACTIVA, they both continued to have contractual

   obligations with plaintiffs to obtain the success of the PROJECT.

          32. PROACTIVA is, upon information and belief, a Spanish partnership or

   corporation wholly-owned and/or controlled by VIVENDI/FCC, and was formed for

   the purpose (if not exclusive purpose) of holding VIVENDI/FCC’S 70% stake in TTI.

   In mid 2000, Vivendi acquired control in FCC.

          33. Pursuant to the contractual agreements reached by the parties the

   success of the PROJECT called for and required the undivided, focused and total

   dedication, cooperation and support of both VIVENDI/FCC and HOYOS.

          34. As part of the ACUERDO MARCO and STOCKHOLDERS’ AGREEMENT,

   VIVENDI/FCC through PROACTIVA was compelled to make a capital contribution of

   $1,400,000.00 to TTI, while HOYOS had to contribute $600,000.00 in cash or kind.

          35. Further to the ACUERDO MARCO and STOCKHOLDERS’ AGREEMENT,

   VIVENDI/FCC through PROACTIVA was to transfer directly to BI the amount of

   $776,939.00 on November 4, 1999, as an initial deposit to a Sales Contract (“SALES

   CONTRACT”) between TTI and BI, signed on November 4, 1999.



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           36. Under the SALES CONTRACT, BI agreed to sell to TTI an Electronic

   Network of Automated Services composed of a Central Processing System, central

   systems communications infrastructure, associated software as well as Interactive

   Transaction Machines (“ITM’s”), associated systems, and all required equipment,

   software, and services, as described in Exhibit 1A and 1B of the SALES CONTRACT.

   The product of all to be provided by BI was guaranteed by BI and TTI with a

   performance bond issued by Eastern American Insurance Corporation, a subsidiary

   of Universal Insurance. Said bond was procured and secured by Marsh-Saldana and

   Associates for BI.

           37. The PROJECT was slow to start because of Defendants’ intentional

   inaction and HOYOS was compelled to commence and maintain operations on

   behalf of TTI using BI personnel and resources which adversely affected BI’s

   financial position.

           38. Consequently, on or about October 5, 2000, BI informed VIVENDI/FCC

   through PROACTIVA in writing that as of said date TTI owed to BI $688,525.73 for

   goods and services provided for under the Sales Contract and/or for additional

   goods and services specifically requested by TTI and provided by BI related to a full

   fledged and costly process of establishing needed infrastructure in Puerto Rico.

           39. TTI refused to pay said amount. BI then firmly and clearly explained

   that TTI’s failure to pay the outstanding invoices were causing BI to fail to meet its

   financial obligations, and was otherwise placing BI in a critical economic situation.

   (This controversy forced BI to sue TTI for collection of monies in the Superior Court



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    of Puerto Rico, San Juan Part, Civil No. KPE01-2549. As of this date TTI owes BI

    approximately $1,000,000.00.)

           40. Shortly thereafter, in repeated telephone conversations between

    HOYOS and representatives of TTI, and VIVENDI/FCC through PROACTIVA, HOYOS

    was told that neither VIVENDI/FCC through PROACTIVA nor TTI would pay any

    monies to BI, and that VIVENDI/FCC through PROACTIVA, as 70% owner of TTI,

    would not authorize any payment to BI for past due balances.

           41. VIVENDI/FCC through PROACTIVA insisted on naming TTI’s General

    Manager to run and be in charge of TTI’s commercial and start-up operations.

           42. VIVENDI/FCC        through    PROACTIVA     named      Stefan   Orssich

    (“ORSSICH”).ORSSICH was (before and during his tenure as General Manager of

    TTI) and continues to be an employee of FCC.

           43. ORSSICH has an education and on-the-job training in accounting and

    bookkeeping. He had no or very little experience in management, start-up

    operations, marketing, publicity and sales.

           44. ORSSICH continued to be an employee of FCC and limited himself to

    following FCC’s instructions. ORSSICH proved to be incapable, unable and/or

    unwilling to lead TTI into successfully completing RESERVA. Furthermore, instead of

    managing operations, and being proactive in marketing and sales, either through

    his own will and/or upon orders of VIVENDI/FCC he limited his role to accounting

    and bookkeeping and otherwise acting as VIVENDI/FCC’s watchdog. During this




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    entire period, the only contracts signed with customers and clients were signed due

    exclusively to the efforts and contacts of HOYOS.

           45. It is at this juncture that RESERVA began to be seriously jeopardized.

    ORSSICH followed, conformed and was guided almost exclusively by the directors

    named by VIVENDI/FCC through PROACTIVA, to wit: Carlos Aguasca Castells, Angel

    Arias, and Javier Gil Cáceres (“PROACTIVA DIRECTORS”). With the exception of

    Angel Arias, these individuals were, are, and remain directors, officers,

    shareholders, representatives, agents and/or employees of VIVENDI/FCC.

           46. At all times, as to business transactions relevant herein, the

    Defendants, jointly and severally and acting in concert among themselves, obviated

    any corporate separateness between themselves and PROACTIVA, and in

    furtherance of their improper purpose they personally maintained full control and

    took all decisions in PROACTIVA related to the RESERVA PROJECT.

           47. At all times, as to business transactions relevant herein, the

    PROACTIVA majority DIRECTORS acted as mere conduits or agents through whom

    the Defendants’s accomplished their wrongful intentions, and the implementation of

    their wrongful orders and instructions in relation to the RESERVA PROJECT.

           48. Through their control of the majority of these PROACTIVA DIRECTORS,

    and in furtherance of their improper purposes, the Defendants, jointly and

    severally, and acting in concert among themselves, would override and ignore all

    suggestions and/or all recommendations on how to successfully complete RESERVA

    coming from the other directors Héctor Hoyos and Filomena Ruffa (the “HOYOS



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    DIRECTORS”) as well the third party consultants hired by TTI with the Board’s

    approval.

            49. The intentional wrongful actions and omissions of the defendants that

    were conducted through the PROACTIVA DIRECTORS were aimed and directed

    exclusively at protecting the capital investment of VIVENDI/FCC and ignoring the

    fiduciary trust/duty that the PROACTIVA DIRECTORS had with TTI.

            50. In compliance with the Defendants’ wrongful intentional orders and

    instructions the PROACTIVA DIRECTORS and ORSSICH were not proactive, and did

    nothing to promote and advance TTI’s commercial operations.

            51. As a result of the Defendants’ breach of its fiduciary duties TTI’s

    economic situation began to seriously deteriorate. As a direct result thereof, the

    Defendants instructed the PROACTIVA DIRECTORS to have TTI abandon RESERVA,

    shut down and liquidate all of its assets, and otherwise dissolve it.

            52. During an emergency session of the TTI Board of Directors held in

    November of 2001, HOYOS vehemently opposed Defendants’ wrongful intentions

    and instead offered to acquire TTI and/or absorb all monthly operational expenses

    since RESERVA was his original idea, and HOYOS had committed his personal,

    business professional reputation and capital on the PROJECT and its success.

            53. Ignoring HOYOS’ expressed objections and in violation of the

    ACUERDO MARCO and STOCKHOLDERS’ AGREEMENT, in December of 2001 the

    Defendants ordered the PROACTIVA DIRECTORS, without the extraordinary 90%

    majority required under Article 3(a) of the STOCKHOLDERS’ AREEMENT and Articles



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    5.1 (b) and (d), of the ACUERDO MARCO, to dissolve and liquidate all of TTI assets,

    thereby dismantling the RESERVA project.

            54. Through these wrongful actions and illegal interference of the

    contractual obligations between Hoyos and Proactiva, the Defendants fraudulently

    had the PROACTIVA DIRECTORS and ORSSICH liquidate all of TTI’s assets in a

    clear breach of their fiduciary duty, and ultra vires.

           55.    Defendants tortuous interference of third party contractual relations

    was the direct cause of the closing of Biometrics Imagineering Inc. a going concern,

    at that point valued by outside third party investors in one hundred twenty five

    million dollars ($125,000,000.) Biometrics efforts were all focused on the ITM and

    Cyclops machines and on RESERVA with TTI. Therefore, the company could not

    economically sustain itself alter TTI closed its operations, particularly since the

    closing resulted in the pullout of the Portuguese Group SLN, whom had acquired

    25% of BI on a valuation of one hundred twenty five million dollars ($125,000,000)

    with an agreement which required an additional investment in BI of twenty million

    dollars ($20,000,000.)

           56. On May 2001, Hoyos and Biometrics had begun negotiations with the

    Portuguese Lhusa Negotiations Society (“SLN”) SLN acquired all Intellectual

    Property over the ITMs (outside of Puerto Rico). The negotiations were geared

    towards implementing the already established ITM network in other countries

    around the world.




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           57. On June or July of 2001, Biometrics sold 25% of the company to SLN for

    the valued price of thirty-two million two hundred and fifty thousand dollars

    ($32,250,000.00). An additional ninety six million seven hundred and fifty thousand

    dollars ($96,750,000.00) would have been acquired from BI shareholders under the

    terms of said contract.

           58. Due to Defendant’s illegal third party interference of Hoyos’ and SLN’s

    contractual obligations, SLN reneged its obligations under said contract. Further,

    because TTI illegally closed its operations and because of Defendant’s defamatory

    statements regarding the ITM machines, BI and HOYOS lost all economic support

    and credibility regarding the ITM’s and the RESERVA project.

           59.   On or about August 2005, HOYOS called SALDANA to inquire about

    some insurance policies of BI. During those conversations, SALDANA informed

    HOYOS that TTI had some insurance policies with UNIVERSAL and with AMERICAN

    that covered the period of the events in this case and that one of the polices was a

    Directors and Officers Policy.

                                            V. TOLLING

         60. Plaintiffs’ tort claims were tolled by the filing of civil actions in civil case

    number 02-11189 (PG) filed in the Federal District Court for the District of Puerto

    Rico on February 7, 2002, and by the counterclaim filed by the defendants on

    December 30, 2002, in an arbitration procedure filed by Proactiva and TTI against

    Hoyos, BI and Transactional Technologies, LTD., on October 9, 2002.




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                                   VI. CAUSES OF ACTION

                                     COUNT ONE
          61.     The above stated factual claims are repeated and incorporated by

    reference as if fully set forth herein.

          62.     Defendants’ third party interference of contractual relationships and

    obligations between Hoyos, Proactiva and SLN related to the commercial and

    corporate transactions of the RESERVA PROJECT adequately constituted and/or

    caused a breach of said agreements entitling the Plaintiffs to recover all damages

    sustained as a consequence thereof, which are estimated in a money amount of no

    less than $200,000,000.

                                              COUNT TWO
            63. The above stated factual claims are repeated and incorporated by

    reference as if fully set forth herein.

            64. Defendants proceeded to defame HOYOS with SLN directors and/or

    officials causing him damages which have led to the loss of clients and earnings.

            65. HOYOS requested Defendants and their representatives and agents to

    refrain from continuing to defame HOYOS to no avail. Defendants persisted in

    making such false public charges against the Plaintiff HOYOS.

            66. The Defendants are liable to Plaintiff HOYOS for defamation, for which

    reason HOYOS is entitled to recover damages from Defendants in a money amount

    of no less than of $200,000,000.

                                              COUNT THREE




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            67. The above stated factual claims are repeated and incorporated by

    reference as if fully set forth herein.

            68. It is the duty of a board of directors to manage the corporate affairs

    solely in the interest of the corporation, quite regardless of the effect of its policies

    and management upon the fortunes of individual shareholders or an individual

    group of shareholders in the corporation. And directors and other officers may not

    legally manipulate the affairs of the corporation primarily with the design of

    securing its control to one particular group of shareholders, or of excluding another

    group from the exercise of its corporate rights.

            69. As to their breach of fiduciary duty or trust, the liability of the

    FCC/PROACTIVA DIRECTORS and ORSSICH is personal, joint and several for the

    willful mismanagement, neglect and misconduct of corporate affairs by carrying out

    the orders of VIVENDI/FCC and being guided exclusively by the interests of

    VIVENDI/FCC to the inherent and obvious detriment of TTI, with said liability

    ascending to a money amount reasonably estimated in no less than $200,000,000.

           70. A director is further liable to a corporation’s shareholders where the

    director acts outside the scope of his authority to the injury of the corporation. Thus

    if he willfully performs an act which he knew is unauthorized, such director or

    directors are clearly liable for any resulting damage. If the director or directors

    knowingly exceeds his or their authority, the director or directors are liable without

    regard to the exercise of reasonable care.

           71. PROACTIVA DIRECTORS are personally, jointly and severally liable for

    any and all damages caused by acts ultra vires and illegal where they knowingly



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    contravened provisions of both the SHAREHOLDERS’ AREEMENT and the ACUERDO

    MARCO, which damage and liability ascends to the amount of no less than

    $200,000,000.

           72. As mentioned previously directors and officers owe the corporation and

    its stockholders the active duty of honesty and good faith in the transaction of the

    business of the corporation and in their dealings with it. They are bound to use the

    utmost good faith and loyalty for the furtherance and advancement of its interests.

    Accordingly, directors and officers of a corporation are liable for a loss to the

    corporation from the fraud of such directors and officers. Where there is a breach

    of a legal or equitable duty arising out of a fiduciary relationship, a presumption of

    fraud arises. Unlike actual fraud, constructive fraud requires neither actual

    dishonesty nor intent to deceive. Because of these fraudulent acts SLN reneged its

    obligations under said contract because TTI illegally closed its operations. Whereby,

    BI and HOYOS lost all economic support and credibility regarding the ITMs and the

    RESERVA project. Because PROACTIVA DIRECTORS’ and ORSSICH’s constructive

    fraud and direct consequential damage to the Plaintiff is as an individual

    shareholder or affecting the Plaintiff shareholder directly, the liability of PROACTIVA

    DIRECTORS and ORSSICH is personal, joint and several in favor of the individual

    Plaintiff, which damage and liability ascends to an amount of no less than

    $200,000,000.

                                         COUNT FOUR

            73.   The above stated factual claims are repeated and incorporated by

    reference as if fully set forth herein.

           74.    HOYOS was owner of some insurance policies acquired for BI trough

    SALDANA’s Insurance Company. SALDANA informed HOYOS that TTI also had some



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    insurance policies with UNIVERSAL and with AMERICAN. Those policies covered the

    director and officer’s liability, as well corporate liability, including but not limited to

    product liability.

            75.    DEFENDANTS unlawfully and knowingly did not comply with their duty

    of notifying the insurance companies, that is UNIVERSAL and AMERICAN of the

    action brought by them against one of the officers of the company, HOYOS.

    DEFENDANTS knew that the policies covered HOYOS from any action brought

    against him and that a notification to the insurance companies was in order to

    activate the policies.

           76. DEFENDANTS unlawfully, willfully and knowingly did not inform HOYOS of

    the existence of the insurance policies of UNIVERSAL and AMERICAN that covered

    him as an officer of the company in the action brought against him.

           77. Each of the aforesaid violations by the Defendants were part of a

    common and continuous pattern of fraudulent schemes, with the sole intention to

    conspire against HOYOS and perpetrated for the same or similar purposes, thus

    constituting a “pattern of racketeering activities as defined in 18 USC §1961 (s.)

           78. Upon information and belief, for the purpose of executing and attempting

    to execute the aforesaid scheme to defraud, the Defendants repeatedly caused to

    be made and made interstate telephone calls and other uses of interstate wire

    facilities to and from the District and elsewhere, in repeated violation of 18 USC

    §1343 (wire fraud). These communications included not only intestate telephone

    calls among employees of TTI, PROACTIVA, FCC (San Juan/Madrid), but also

    includes those of BI, PROACTIVA, VIVENDI, FCC (San Juan/Madrid,) MOCS,

    GUZMAN AND FONT, the purpose of which was to defraud HOYOS and/or BI.




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          79. Each of the aforesaid violations of the Defendants of the mail fraud and

    wire fraud statutes 18 USC §1341 and §1343, constitutes an instance of

    “racketeering activities” as defined in 18 USC §1961(l).

          80. The multiple acts of racketeering activity by the Defendants were

    interrelated, part of a common and continuous pattern of fraudulent schemes, and

    perpetrated for the same or similar purposes, thus constituting a “pattern of

    racketeering activities” as defined in 18 USC §1961(s.)

          81. By reason of the aforementioned circumstances and events the

    DEFENDANTS unlawfully, willfully and knowingly maintained, directly and indirectly

    and interest in and control of TTI through a pattern of racketeering activity in

    violation of 18 USC §1962(b.) In doing so, Defendants deceived HOYOS, requiring

    him to incur in substantially greater expenses and in financial losses than he would

    otherwise have been the case.

          82. By reasons of the aforesaid circumstances and events all Defendants

    along with others unlawfully, willfully and knowingly conspired and continue to

    violate the provisions of 18 USC §1962(b) and 1962(c), in violation of 18 USC

    §1962(d.)

          83. Each of the aforesaid violations by the Defendants were part of a

    common and continuous pattern of fraudulent schemes, and perpetrated for the

    same or similar purposes, thus constituting a “pattern of racketeering activities as

    defined in 18 USC §1961 (s.), which damage and liability ascends to an amount of

    no less than $200,000,000, which under 18 USC §1964(c) are subject to be tripled

    up to $600,000,000.00.

                                       COUNT FIVE




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           84. The above stated factual claims are repeated and incorporated by

    reference as if fully set forth herein.

           85. GUZMAN and FONT were attorneys for MOCS at the beginning stages of

    the present case.

           86. GUZMAN and FONT, as attorneys of the DEFENDANTS knew or should

    have known of the existence of some insurance policies that covered their clients

    against an adverse judgment in a legal case. They also knew that the policies

    covered (HOYOS) the directors and officers from an action brought against them in

    their official capacities.

           87. Co-defendants GUZMAN and FONT, unlawfully and knowingly did not

    inform HOYOS and or his attorneys, of the existence of those insurance policies.

    Moreover, they did not comply with the due diligence of informing the insurance

    companies of the actions brought against one of the officials of their client

    corporation.

           88. Each of the aforesaid violations by GUZMAN and FONT were also part of

    a common and continuous pattern of fraudulent schemes, and perpetrated for the

    same or similar purposes, thus constituting a “pattern” of racketeering activities as

    defined in 18 USC §1961 (s.)

           89. Because GUZMAN, FONT and all DEFENDANT’S fraud and conspiracy

    actions direct consequential damage to the Plaintiff as an individual shareholder

    and/or affecting the Plaintiff shareholder directly, the liability of GUZMAN, FONT

    and all DEFENDANTS is personal, joint and several in favor of the Plaintiff, which

    damage and liability ascends to an amount of no less than $200,000,000.00.




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                                  VII. PRAYER FOR RELIEF

           WHEREFORE, the Plaintiffs respectfully request the Court to enter Judgment

    in favor of plaintiffs, granting them:

           A.     All the money amounts requested in the complaint.

           B.     An award of cost of this suit, including reasonable attorney’s fees and

           any other associated costs and legal interest.

           C.     Any other such further relief as this Court deems just and proper

           RESPECTFULLY SUBMITTED. In San Juan, Puerto Rico, this 20th day of

    June, 2006.

           I HEREBY CERTIFY that on June 20th, 2006, I electronically filed the
    foregoing with the Clerk of the Court using the CM/ECF system which will send
    notification of such filing to the following:
    Eric M. Quetglas Jordán, quetglas@hotmail.com; Humberto Guzmán Rodríguez,
    (hguzman@qsglaw.com), and Giancarlo Font García (gfont@drcprlaw.com).


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